                      Case 17-3413, Document 108, 04/13/2018, 2279106, Page1 of 64

                                  UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT

                  Thurgood Marshall U.S. Courthouse 40 Foley Square, New York, NY 10007 Telephone: 212-857-8500

                                               MOTION INFORMATION STATEMENT

                                                                                        Caption [use short title l




         0Plaintiff                 Onefendant

         ~ppellant/Petitioner       ~Appellee/Respondent
MOVINGATTORNEY:SUclfG7/E- lJt()V~-evose

ZJl t ff nufe s~                    [name of attorney, with frrm address, ohoS:~;~m~~

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Please check appropriate boxes:                                       FOR EMERGENCY MOTIONS, MOTIONS FOR STAYS AND
                                                                      INJUCTIONS PENDING APPEAL:
Has movant notifie~posing counsel (required by Local Rule 27. I):
        ~Yes LJNo(explain):_ _ _ _ _ _ _ _ __
                                                                      Has this request for relief been made below?     Ges        BNo
                                                                       Has this relief been previously sought in this court? 0Yes   No
                                                                       Requested return date and explanation of emergency:

Opposing counsel's position on motion:
         Ounopposed g!opposedODon't Know
Does oppm: counsel intend,!Q..ftle a response:
            Yes QNo LJDon'tKnow


ls oral argument on motion requested?      Dyes gjNo (requests for oral argument will not necessarily be granted)
Has argument date of appeal been set?      0Yes gINo If yes, enter date:._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


~~~~g~~~                         , I .I
~""'"""-''-"'---~--------Date: DJf/ JJ,/;O /$ Service by: OcM/ECF Qother [Attach proof of service]


Form T-1080(rev.12-13)
                 Case 17-3413, Document 108, 04/13/2018, 2279106, Page2 of 64



UNITED STATES COURT OF APPEALS
FOR THE SECOND CIRCUIT


EVERETTE WEAVER

                                              Plaintiff- Appellant

v                                                                                                    Docket No.17-3413

SARA Z. BORISKIN, Esq

GENA GOLDBERGER, Esq

CITIMORTGAGE, Inc.

KIM KRAKOVIAK

PATRICK J. HACKETT, Esq

ALEXANDER KLESTOV

SCOTTB. GROUP, Esq

BRANDON D. LEWIS

KATHLEEN R. FITZPATRICK, Esq &

NINA KHAIMOVA, Esq

                                          Defendants-Appellees
------------------------------------------------------------------------------------------------------------x

MOTION TO STRIKE SUPPLEMENTAL APPENDIX FILED BY APPELLEES SARA
Z. BOROSKIN AND GENA GOLDBEGER

Appellant Everette Weaver hereby moves the Court for an order striking the

supplemental appendix filed by appellees Sara Z. Boriskin and Gena Goldberger

on March 26, 2018, Doc. Nos. 85, 86 & 87 for being impertinent, immaterial,


                                                                                                                         1
          Case 17-3413, Document 108, 04/13/2018, 2279106, Page3 of 64



scandalous, unnecessarily inserted into the appeal and a deliberate fraud, pursuant

to rule 12 (f) of the Federal Rules of Civil Procedure and CPLR 3024 (b), prohibit

Boriskin and Goldberger from using the referenced documents because the matter

has not come to finality, the tenants who live rent free in the subject property from

August 2008 to present because of illegal tactics by their attorney John Seymour

James were smuggled into the Country by traffickers from their native island of

Barbados and currently using Fake documents, their true identity are a mystery, the

matter is under investigation and the illegal aliens are being represented by

attorney John James who specializes in political asylum, and as grounds states;


   1. John Seymour James who represents the tenants living in the subject

      property filed a notice of appeal on behalf of the illegal aliens currently

      living in the United States by using Fake documents with names that are not

      their true birth names.

   2. Weaver filed a motion to dismiss the appeal and on October 2, 2017 the

      appellate Division, Second Department entered a decision and order

      dismissing the appeal filed by attorney John James.

      Exhibit A. Decision and order from the appellate Division, Second

      Department dated October 2, 2017.




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3. Public record shows that on May 13, 2010 Sara Z. Boriskin executed an

   assignment of mortgage for a property located at 119-27 199 Street, Saint

   Albans, New York 11412 purporting to be assistant Secretary ofMERS.

   Exhibit B. Assignment of mortgage executed by Sara Z. Boriskin on May

   13, 2010 purporting to be assistant secretary ofMERS.



4. Public record shows that on August 11, 2010 Sara Z. Boriskin executed an

   assignment of mortgage for a property located at 943 Rockaway A venue,

   Brooklyn, New York 11212 purporting to be assistant Secretary of MERS.

   Exhibit C. Assignment of mortgage executed by Sara Z. Boriskin on August

   11, 2010 purporting to be assistant Secretary ofMERS.



5. According to the resume of Sara Z. Boriskin taken from her Linkedin page,

   Boriskin was manager of the foreclosure Department of the law firm of

   Berkman, Henoch, Peterson, Peddy & Fenchel, P.C. at the time she executed

   the assignment of mortgages purporting to be assistant Secretary ofMERS.

   Exhibit D. Resume of Sara Z. Boriskin taken from her Linkedin page.



6. Public record also shows that on January 10, 2011 Sara Z. Boriskin

   executed an assignment of mortgage for a property located at 23 8-70 116th


                                                                                3
          Case 17-3413, Document 108, 04/13/2018, 2279106, Page5 of 64



      Road, Elmont, New York 11003 purporting to be assistant Secretary of

      MERS.

      Exhibit E. Assignment of mortgage executed by Sara Z. Boriskin on

      January 10, 2011 purporting to be assistant Secretary ofMERS.



   7. Court records shows that four days later on January 14, 2011, a complaint

      was filed by the law firm of Berkman, Henoch, Peterson, Peddy & Fenchel,

      P.C. against Marva Cudjoe, the owner of238-70 1161h Road, Elmont, New

      York 11003.

   8. Court records also shows that six days later on January 20, 2011 Alexander

      Klestov served Marva Cudjoe with a summons and complaint.

      Exhibit F. Affidavit of service upon Marva Cudjoe by Alexander Klestov.


                           THE CONSPIRACY


On Wednesday March 28, 2018 the United States attorney for the Southern District

of New York announced a lawsuit against the law firm of Rosicki, Rosicki &

Associates for systematically overbilling Fannie Mae for foreclosure expenses and

the case is assigned to Judge Jed Rakoff of the Southern District ofNew York.


The first paragraph of page 2 of the press release from the United States attorney

states, "From May 2009 through the present ("covered period"), ROSICKI, a law


                                                                                     4
           Case 17-3413, Document 108, 04/13/2018, 2279106, Page6 of 64



firm based in Plainview, New York, that specializes in mortgage foreclosures,

acted as counsel to various mortgage servicing companies, and in that capacity

effectuated mortgage foreclosures on Fannie Mae-owned loans. ENTERPRISE

was a service-of-process company wholly owned and controlled by the two

founding partners ofRosicki, and Paramount was a title search company also

wholly owned and controlled by the same Rosicki Partners.


Throughout the covered period, Rosicki, Enterprise and Paramount perpetrated a

scheme whereby Rosicki exclusively engaged Enterprise and Paramount

purportedly to serve process and perform title searches that were required to

complete mortgage foreclosures on Fannie Mae loans.


In reality, however, Enterprise and Paramount engaged third-party vendors to

perform the majority of the work, and then applied exponential markups, as much

as 750%, to those vendors bills for foreclosure-related services, while adding little

if any value to the services that the vendors had performed. ENTERPRISE and

PARAMOUNT submitted their marked-up expenses, which significantly exceeded

market rates, to ROSICKI.


Rosicki in tum billed the mortgage servicers for those inflated expenses, which

Rosicki represented were the actual expenses incurred for the foreclosure-related

services, with knowledge that the mortgage servicers would submit claims to


                                                                                        5
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Fannie Mae for full reimbursement of the expenses. Defendants submission of

these fraudulently inflated expenses caused Fannie Mae to pay millions of dollars

for falsely inflated foreclosure expenses."


Public records shows that the law firm of Berkman, Henoch, Peterson & Peddy,

P.C. perpetrated a scheme whereby the law firm retained PDY Process Inc., which

is owned by Patrick J. Hackett, Esq and located within his law practice.


PDY Process then contracted with Alexander Klestov to serve Weaver, Meade,

Cudjoe and Beale which has been admitted in the last paragraph of page 4 of the

answer Brief for Boriskin and Goldberger.


Alexander Klestov filed false affidavit of service in the cases above and the

affidavits of service are defective because they failed to list the process serving

entity's address and telephone number as required by rules of the City of New

York, title 6, Department of consumer affairs, Subchapter 23 of Chapter 2 of title

20 of the Administrative Code,§ 2-234 & § 2-235.


It appears that the law firm of Berkman, Henoch, Peterson & Peddy, P.C., engaged

in a similar conspiracy just like the law firm ofRosicki, Rosicki & Associates to

bill homeowners' excessive fees and to file false affidavits of service with the

Court in order to get default judgments, just like the one that CitiMortgage got

against Weaver, Meade, Cudjoe and Beale.

                                                                                      6
           Case 17-3413, Document 108, 04/13/2018, 2279106, Page8 of 64



In the cases of Meade, Cudjoe and Beale, the assignment of mortgages were all

executed by Sara Z. Boriskin purporting to be assistant Secretary ofMERS.


However, according to the resume of Sara Z. Boriskin taken from her Linkedin

page, Boriskin was the managing attorney of the foreclosure Department of the law

firm of Berkman, Henoch, Peterson, Peddy & Fenchel, P.C., at the time she

executed the assignment of mortgages purporting to be assistant Secretary of

MERS.


It appears that the law firm of Berkman, Henoch, Peterson, & Peddy, P.C., along

with Patrick Hackett form an entity called PDY Process, Inc., which was located

within the law firm of Patrick J. Hackett.


Berkman, Henoch, Peterson & Peddy, P.C. would then retain PDY Process Inc., as

the process server, who then subcontract the work to Alexander Klestov.


When Klestov submitted his invoices to PDY Process Inc., it appears that PDY

then submit inflated invoices to the law firm of Berkman, Henoch, Peterson &

Peddy, P.C. which were then passed on to their victims such as Weaver, Meade,

Cudjoe and Beale and the parties benefited from the conspiracy.


The parties also used Alexander Klestov to submit false affidavits of service to the

Court which were notarized by Patrick J. Hackett which is not only self-serving,

but a conflict of interest.
                                                                                       7
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       CONSUMER PROTECTION BUREAU FINED CITI $29 MILLION


The consumer financial protection bureau fined CitiFinancial and CitiMortgage a

total of $29 million for foreclosure related issues, in the matter of CitiMortgage,

Inc., Administrative proceeding file No. 2017-CFPB-0005.


On January 23, 2017 CitiMortgage agreed to a consent order which states on page

4 under bureau findings and conclusions, "The Bureau finds the following:


4. Respondent is incorporated in New York, headquartered in O'Fallon, Missouri,

and is a subsidiary of Citibank, N.A. Respondent is a covered person, as that term

is defined by 12 U.S.C. § 5481 (6). Respondent is also a service provider, as that

term is defined by 12 U.S.C. § 5481 (26), and a servicer under regulation X, 12

C.F.R. § 1024.2 (b).


5. During the relevant period, respondent serviced residential mortgage loans on

behalf of Citibank, N.A, Government-sponsored entities, and various investors,

including by handling loss mitigation activities and initiating foreclosure

proceedings.


Exhibit G. Consent order.




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FINDINGS AND CONCLUSIONS AS TO RESPONDENT'S NOii LETTER


6. When respondent received an incomplete loss mitigation application 45 days or

more before a scheduled foreclosure sale, respondent's practice was to send

borrowers a notice advising them of the additional documents and information

necessary to complete their loss mitigation applications.


7. During the relevant period, respondent sent approximately 41, 000 NOH letters

to affected consumers.


8. The NOH letters respondent sent to affected consumers requested all documents

that could potentially be relevant to loss mitigation applications generally.


9. For a portion of the relevant period, from January 10, 2014, through August 19,

2014, the first page of respondent's NOH letter sent to affected consumers included

the following directive in bold, capitalized text: "WE MUST HAVE THE

DOCUMENTS LISTED BELOW TO PROCESS YOUR LOSS

MITIGATION APPLICATION." The NOH letter respondent sent to affected

consumers then listed dozens of documents and forms that may or may not have

been applicable to a borrower's loss mitigation application.


10. The NOH letters respondent sent to affected consumers did not specify which

of the listed documents were actually necessary for a particular borrower to submit

in order to complete his or her mitigation application. Respondent did not, in fact,
                                                                                       9
           Case 17-3413, Document 108, 04/13/2018, 2279106, Page11 of 64



need the affected consumers to submit all of the documents listed in the NOil letter

in order to complete their loss mitigation application.


11. For example, the NOil letter respondent sent to affected consumers requested,

among other things, the following documents: "Form 1065 (Partnership tax return)

with all schedules"; Form 1120S (S-Corporation tax return) with all schedules";

"Social security ward letter"; "Trust agreement"; "Broker's statements at year-

end"; "Teacher contract"; "Pension statement"; and a Most current year of real

estate tax bill for rental."


12. Near the end of the NOil letter respondent sent some affected consumers,

respondent included the following statement in bolded text: "Remember, you

must provide the necessary documentation to complete your application"


13. In some cases, the NOil letter respondent sent to affected consumers also

requested documents that borrowers had already submitted.


14. In certain circumstances, respondent's representatives communicated with

affected consumers via phone or email to inform them of the actual documents the

borrowers needed to submit to complete their loss mitigation applications.

However, respondent also sent some of these same borrowers an additional letter

requesting a large numbers of documents inapplicable to their circumstances, or

documents that the borrowers had already submitted.

                                                                                  10
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15. Some affected consumers also received conflicting messages from respondent's

representatives regarding the documents that they needed to submit to complete

their loss mitigation applications, including that they had to submit documents

previously submitted. Affected consumers also complained about the lack of

communication by respondent's representatives, and the assignment of multiple

representatives during the loss mitigation application process.


              VIOLATION OF RESPAAND REGULATION X


16. When a servicer receives an incomplete loss mitigation application 45 days or

more before a scheduled foreclosure sale, Section 1024. 41 (b) (2) (i) (B) of

regulation X requires the servicer, within five days of receiving the application, to

provide a written notice "stating the additional documents and information the

borrower must submit" to complete his or her loss mitigation application. 12 C.F.R.

§ 1024.41 (b) (2) (i) (B).


17. As described in paragraphs 6-14, the NOii letter respondent sent to affected

consumers did not state which documents and information those borrowers

actually needed to submit to complete their loss mitigation applications. In some

cases, the NOii letter respondent sent to affected consumers requested documents

that the borrowers had previously submitted.




                                                                                    11
          Case 17-3413, Document 108, 04/13/2018, 2279106, Page13 of 64



18. Therefore, respondent violated RESPA, 12 U.S.C. § 2601 et Seq., and Section

1024.41 (b) (2) (i) (B) of its implementing regulation X.


                        VIOLATION OF THE CFPA


19. Sections 1031 (a) and 1036 (a) (1) (B) of the CFPA, 12 U.S.C. §§ 5531 (a) and

5536 (a) (i) (B) prohibit "unfair, deceptive, or abusive" acts or practices. 12 U.S.C.

§ 5536 (a) (1) (B).


20. As described in paragraphs 6-14, in connection with servicing residential

mortgage loans, respondent has represented, expressly or impliedly, that borrowers

must submit all the documents listed in the NOII letter in order to complete their

loss mitigation application and for respondent to process that loss mitigation

application.


21. In fact, respondent actually needed a much smaller universe of documents to

process borrowers' loss mitigation applications and borrowers did not have to

submit all of the documents listed in the NOII letter to complete their loss

mitigation application. In some cases, respondent also represented in its NOII letter

that borrowers needed to submit documents that they had already provided.


22. Therefore, respondent engaged in deceptive acts or practices in violation of

Sections of 1031 (a) and 1036 (a) (1) of the CFPA, 12 U.S.C. §§ 5531 (a), 5536 (a)

(1).
                                                                                     12
          Case 17-3413, Document 108, 04/13/2018, 2279106, Page14 of 64



                              CONCLUSION


The facts and evidence submitted in this motion to strike shows that the Boriskin

and Goldberger included in volume II of their supplemental appendix the following

impertinent, immaterial, unnecessary and scandalous documents;


Complaint in Weaver v Radix et al., dated June 16, 2009. (SA 207).


Judge Radix happens to be from the island of Barbados from where the illegal

aliens were smuggled.


Transcript of proceeding in the case of Weaver v. Kurtz. (SA 245).


Report and recommendation in Weaver v Vaughan. (SA283).


Memorandum and order of Judge Bagley Amon. (SA 303).


Supplemental order of Judge Bagley Amon. (SA 308).


Judgment entered by Judge Amon on October 11, 2012. (SA310).


Appellant is a prose litigant and not an attorney.


However, the evidence submitted in this motion shows that Boriskin and

Goldberger have made misrepresentations and false representations their standard

operating procedure and their reason for including the documents above in the

appeal, is to deflect away from the crimes they have committed as officers of the

                                                                                    13
          Case 17-3413, Document 108, 04/13/2018, 2279106, Page15 of 64



Court which requires referral to the United States attorney for a criminal

investigation as required by title 18 U.S.C. § 4.




Wherefore, appellant Weaver moves this Court to enter an order granting his

motion striking the supplemental appendix filed by Boriskin and Goldberger for

being impertinent, immaterial, scandalous, and unnecessarily inserted into the

appeal, prohibit Boriskin and Goldberger from using the documents listed in their

supplemental appendix because the matter has not come to finality, the tenants live

rent free in three apartments in the subject property from August 2008 to present

compliments of the illegal tactics of their attorney John James who is a major

campaign contributor to Kings County Supreme Court Judges and specializes in

political asylum according to his online advertising, the tenants were smuggled

into the Country by traffickers from their native island of Barbados and used Fake

documents to apply for food stamp and welfare benefits, their true identity is a

mystery, and the matter is currently under investigation, and grant such other and

further relief as the Court may deem just and proper under the circumstance.




                                                                                     14
         Case 17-3413, Document 108, 04/13/2018, 2279106, Page16 of 64



Dated: April 12, 2018
                                                Respectfully Submitted

                                                 ~~
                                                Everette Weaver
                                                Plaintiff-Appellant
                                                827 Route 82
                                                Hopewell Junction, NY 12533

                                                914-490-1855




                                                                          15
                     Case 17-3413, Document 108, 04/13/2018, 2279106, Page17 of 64

               UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT
              CAPTION:


                                                                           CERTIFICATE OF SERVICE*


                                     v.
                                                                           Docket Number: /   Z- 31//3
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                 I                        r               (list all documents)
           by (select all applicable)**
          _     Personal Delivery                     ~d States Mail                    _Federal Express or other
                                                                                           Overnight Courier
                Commercial Carrier                _     E-Mail (on consent)
           on the following parties:
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                                                                     1
           Name                               Address                            City         State     Zip Code

          *A party must serve a copy of each paper on the other parties, or their counsel, to the appeal or
          proceeding. The Court will reject papers for filing if a certificate of service is not simultaneously
          filed.

          **If different methods of service have been used on different parties, please complete a separate
          certificate of service for each party.




                      Today's Date                                                        Signature
           Certificate of Service Form (Last Revised 12/2015)
        Case 17-3413, Document 108, 04/13/2018, 2279106, Page18 of 64

'   '




                           EXHIBIT A
          Case 17-3413, Document 108, 04/13/2018, 2279106, Page19 of 64




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                                                                                             E/sl
RANDALL T. ENG, P.J.
JEFFREY A. COHEN
JOSEPH J. MALTESE
ANGELA G. IANNACCI, JJ.


2016-13092                                                    DECISION & ORDER ON MOTION

Citimortgage, Inc., respondent,
v Everette Weaver, et al., appellants,
et al., defendants.

(Index No. 18430/09)



              Motion by the appellant Everette Weaver on appeals from an order of the Supreme
Court, Kings County, dated September 26, 2016, inter alia, to dismiss the appeal by the appellants
Elma Gibbs and Shelly Parker on the ground that they are not aggrieved. Application by the
appellants Elma Gibbs and Shelly Parker pursuant to 22 NYCRR 670.8(d)(2) to enlarge until
October 30, 2017, the time to perfect their appeal.

               Upon the papers filed in support of the motion and the papers filed in opposition
thereto, and upon the papers filed in support of the application and no papers having been filed in
opposition or in relation thereto, it is

               ORDERED that the branch of the motion which is to dismiss the appeal by the
appellants Elma Gibbs and Shelly Parker is granted and the appeal by the appellants Elma Gibbs and
Shelly Parker is dismissed, without costs or disbursements (see CPLR 5511); and it is further,

               ORDERED that the motion is otherwise denied; and it is further,

               ORDERED that the application is denied as academic.

ENG, P.J., COHEN, MALTESE and IANNACCI, JJ., concur.



                                                                         ~~
                                             ENTER:

                                                         .


                                                             Aprilanne Agostino
                                                             Clerk of the Court
October 2, 2017
                              CITIMORTGAGE, INC. v WEAVER
Case 17-3413, Document 108, 04/13/2018, 2279106, Page20 of 64




                   EXHIBIT B
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 NYC DEPARTMENT OF FINANCE
 OFFICE OF THE CITY REGISTER
111is page is part of the instrument. The City
Register will rely on the information provided
by you on this page for purposes of indexing
this instrument. 111e information on this page
will control for indexing purposes in the event
of any conflict with the rest of the document.
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                        RECORDING AND ENDORSEMENT COVER PAGE                                                      PAGE 1 OF4
Document ID: 2010081800489001    Document Date: 05-13-2Q10                                         Preparation Date: 08-18-2010
Document Type: ASSIGNMENT, MORTGAGE
Document Pa e Count: 2
PRESENTER:                                                         .RETURN TO:
HOLD FOR PICK-UP-SUZANNE MANGO                                     'HOLD FOR PICK UP- SUZANNE MANGO
ADVANTAGE FORECLOSURE-FCL65183                                     1
                                                                     BERKMAN, HENOCH, PETERSON & PEDDY
410 NEW YORK A VENUE                                                 100 GARDEN CITY PLAZA
HUNTINGTON, NY 11743                                               i GARDEN CITY, NY 11530
                                                                   I
631-549-7721                                                       i 631-549-7721
mdaly@advantagetitle.com

                                                        PROPERTY DATA
Borough                  Block Lot                      Unit Address
QUEENS                   12655 40         Entire Lot              119-27 199TH STREET
             Property Type: DWELLING ONLY - 1 FAMILY




                                                  CROSS REFERENCE DATA
CRFN: 2007000188571

                                                                PARTIES
ASSIGNOR/OLD LENDER:                                              . ASSIGNEE/NEW LENDER:
MERS                                                               BAC HOME LOANS SERVICING LP
3 BURLINGTON WOODS, 2ND FLOOR                                      7105 CORPORATE DRIVE
BURLINGTON, MA 01803                                               PLANO, TX 75024

x Additional Parties Listed on Continuation Page
                                                         FEES AND TAXES
                                                                   Filing Fee:
                                                        0.00                                   $                        0.00

                                                                                                                        0.00


                                                        0.00                     RECORDED OR FILED IN THE OFFICE
         TASF:                                          0.00                     · ,()F THE CITY REGISTER OF THE
         MTA:                                           0.00                     :;k ~:   CITY OF NEW YORK
         NY CTA:                                        0.00                     ..   '    Recorded/Filed       08-31-201010:33
         Ad_ditjonal MRT:                               O.OQ_                              CityRegisterFileNo.(CRFN):
                TOTAL:                                  0.00                                                 2010000293830

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Recording Fee:
Affidavit Fee:

                                                                                          City Register Official Signature
                                      :• 1 .
           Case 17-3413, Document 108, 04/13/2018, 2279106, Page22 of 64


NYC DEPARTMENT OF FINANCE
OFFICE OF THE CITY REGISTER




                                               2010081800489001001C2D66
               RECORDING AND ENDORSEMENT COVER PAGE CONTINUATION        PAGE 2 OF 4
Document ID: 2010081800489001   Document Date: 05-13-2010  Preparation Date: 08-18-2010
Document Type: ASSIGNMENT, MORTGAGE

PARTIES
ASSIGNOR/OLD LENDER:
H & R BLOCK MORTGAGE CORP.
3 BURLINGTON WOODS, 2ND FLOOR
BURLINGTON, MA 01803

PARTIES
ASSIGNEE/NEW LENDER:
COUNTRYWIDE HOME LOANS SERVICING LP
7105 CORPORATE DRIVE
PLANO, TX 75024
                     Case 17-3413, Document 108, 04/13/2018, 2279106, Page23 of 64


      Section:
      Block: 12655
      Lot: 40
      Document Number:       000131934596MN35

                                ASSIGNMENT OF MORTGAGE

             ELECTRONIC:: BEGZS'l'RA'l'ION SYS'l'EMS, INC. AS NOMINEE FOR H&R BLOCK
     MOR'lGAGE
     MORTGAGECORPORATION having an address at 3 Burlington Woods, Second Foor,
     Burlington, Massachusetts, 01803, Assignor

     in consideration of ten and no/100                 {$10.00)       Dollars and other good and
     valuable consideration paid by:

     BAC ROME LOANS SERVJ:CING,          LP F/KJA COUNTRYWIDE HOME LOANS SERVICING, LP
     Assignee, having an address of 7105 Corporate Drive, Plano, Texas 75024,
     hereby assigns unto the assignee, a certain mortgage made by WARREN 0.
     MEADE AND STEPHEN A. MEADE         given to MORTGAGE ELECTRONIC REGISTRATION
     SYSTEMS, INC. AS NOMINEE FOR H&R BLOCK MORTGAGE CORPORATION to secure
     payment of t.11.e sum of 385, 000. 00 Dollars and interest, dated 11/02/2006
     and recorded on 04/12/2007, in the Office of the Register of the County of
     QUEENS in CRFN 2007000188571 covering premises 119-27 199TH STREET, SAINT
     ALBANS, NY 11412 : SEE EXHIBIT A, ATTACHED, FOR LEGAL DESCRIPTION

     Together with the bond or obligation described in said mortgage, and the
     moneys due to grow due thereon with interest.

      'l'O RAVE AND TO BOLD, the same unto the assignee, and to the successors,
    . legal representatives and assigns of the assignee forever.

     This assignment is not subject to the requirements of Section 275 of the
     Real Property Law because it is an assignment within the secondary
     mortgage market.

     This Assignment is made to and accepted by the Assignee without warranty
     or representation on the part of the assignor and without recourse to the
     assignor in any event whatsoever.

     Said Assignment has an effective date of June 1, 2009.

    IN WITNESS WHEREOF, the Assignor has duly executed the Assignment on
    May13, 2010.

                                          MOR'l'GAGE ELEC'l'RON:IC             G:IS'l'RA'l':ION SYS'l'EMS,
                                          IN'C. AS NOMINEE FOR                R BLOCK MORTGAGE
                                          CORPORATION




     STATE OF      NEW YORK
                                ) ss.:
     COUNTY OF·     NASSAU      )

    On the 13 day of May in the year 2010 before me, the undersigned,
    personally appeared Sara z. Boriskin, personally known to me or proved to
    me on the basis of satisfactory evidence to be the individual (s) whose
    name(s) is {are) subscribed to the within instrument and acknowledged to
    me that he/she/they executed the same in his/her/their capacity(ies), and
    that by his/her/their signature (s) on the instrument,· the individual (s),
    or the pers   upon behalf of which the individual {s) acted, executed the

     in~trurne .                                 KELLY ANN BURTT
                                                                                 .    f'~~r/.
                                                                                     -.J~
                                           Notary Public, State of New York
    1<J                                           No. 01BU6155622
/                                            Qualified in Nassau County
                                          Commission Expi~s ~ov. 1a, 2010
               Case 17-3413, Document 108, 04/13/2018, 2279106, Page24 of 64



                                 ADVANTAGE FORECLOSURE SERVICES, INC.

,•
                                        Title No. FCL-651~3-10 (File No. ~IA)

                                                    SCHEDULE A
                                                    DESCRlPTION

     Block 12655 and Lot 40 ·

     ALL that certain plot, piece or parc~l ofland, with the buildings and improvements thereon erected, situate, lying
     and being in the Borough and County of Queens, City and State ofNew York, bounded and described as follows:

     BEGINNING at a point on the Easterly side of l 99th Street, fonnerly Amity Street, 60 feet wide, distant 260 feet
     Southerly from the corner formed by the intersection of the Easterly side of 199•h Street with the Southerly side
     of l I 91h Avenue formerly known as St. Marks Avenue, 50 feet wide, as said St. Marks Avenue is laid out on Map
     of St. Albans Heights Realty Co., Borough of Queens.and filed June 291h, 1906 under Map No. 1188;

     RUNNING THENCE Easterly on a line forming an interior angle of 90 degrees 12 minutes 50 seconds with the
     said Easterly side of l 991h Street a distance of 96.41 feet;                 ·

     THENCE Southerly at right angles, with the last mentioned course a distance of 40 feet;

     THENCE Westerly and again at right angles to the last mentioned course a distance of 96;56 feet to the said
     Easterly side of 1991h Street;

     THENCE Northerly along the said Easterly side of 1991h Street, 40 feet to the point or place of BEGINNING.

     Premises known as 119-27 199th Street, Saint Albans, New York
Case 17-3413, Document 108, 04/13/2018, 2279106, Page25 of 64




                   EXHIBIT C
                   Case 17-3413, Document 108, 04/13/2018, 2279106, Page26 of 64

  NYC DEPARTMENT OF FINANCE
  OFFICE OF THE CITY REGISTER
 1l1is page is part of the instrument. The City
 Register will rely on the information provided
 by you on this page for purposes of indexing
 this instrument. The information on this page
 will control for indexing purposes in the event
 of any conflict with the rest of the document.
                                                                       2010083100345001001EAB1C
                          RECORDING AND ENDORSEMENT COVER PAGE                       PAGE 1OF5
 Document ID: 2010083100345001      Document Date: 08-ll-2Q10           Preparation Date: 08-31-2010
 Document Type: ASSIGNMENT, MORTGAGE
 Document Pa e Count: 3
 PRESENTER:                                     :RETURN TO:
 HOLD FOR PICK-UP-SUZANNE MANGO                 •HOLD FOR PICK UP- SUZANNE MANGO
 ADVANTAGE FORECLOSURE-FCL67278                 . BERKMAN, HENOCH, PETERSON & PEDDY
 410 NEW YORK AVENUE                              100 GARDEN CITY PLAZA
 HUNTINGTON, NY 11743                          . GARDEN CITY, NY 11530
 631-549-7721                                     631-549-7721
 mdaly@advantagetitle.com

                                      PROPERTY DATA
 Borough          Block Lot           Unit   Address
 BROOKLYN         3626 104 Entire Lot        943 ROCKAWAY AVENUE
         Property Type: DWELLING ONLY - 1 FAMILY




                                          CROSS REFERENCE DATA
CRFN: 2007000244920
 x Additional Cross References on Continuation Pa e
                                                    PARTIES
ASSIGNOR/OLD LENDER:                                   ·ASSIGNEE/NEW LENDER:
MERS                                                    FEDERAL NATIONAL MORTGAGE ASSOCIATION
1595 SPRING HILL ROAD                                   7105 CORPORATE DRIVE
VIENNA, VA 22182                                        PLANO, TX 75024

 x Additional Parties Listed on Continuation Pa e
                                                         FEES AND TAXES
                                                                Filing Fee:
                                                        0.00                             $                          0.00

                                                                                                                    0.00

                                                                                                         0.00
                                                       0.00                    RECORDED OR FILED IN THE OFFICE
                                                       0.00              . ,~~':,OF THE CITY REGISTER OF THE
                                                       0.00               -      ..   CITY OF NEW YORK
                                                       0.00                          Recorded/Filed          09-08-201013:08
           Ac:l:<!iJip1rnl MRI:..                      0.00
                                                   -- ---· ... .. --
                                                           -   _ -
                                                                                     City Register File No.(CRFN):
                      TOTAL:                           0 .00                                            2010000302555
. Recordingfe~:.                                    52.00                           ;?_ - -~ _._//.~ii
  Affidavit Fee:                                       0.00
                                                                                   ~/~
                                                                                    City Register Official Signature
          Case 17-3413, Document 108, 04/13/2018, 2279106, Page27 of 64


NYC DEPARTMENT OF FINANCE
OFFICE OF THE CITY REGISTER




                                                2010083100345001001CA99C
                RECORDING AND ENDORSEMENT COVER PAGE CONTINUATION              PAGE 2 OF 5
Document ID: 2010083100345001      Document Date: 08-11-2010      Preparation Date: 08-31-2010
Document Type: ASSIGNMENT, MORTGAGE

CROSS REFERENCE DATA
CRFN: 2005000116052
CRFN: 2007000244918
CRFN: 2007000244919
PARTIES
ASSIGNOR/OLD LENDER:
COUNTRYWIDE HOME LOANS INC.
1595 SPRING HILL ROAD
VIENNA, VA 22182
          Case 17-3413, Document 108, 04/13/2018, 2279106, Page28 of 64

 Block: 3626
 Lot: 104
 Document Id: 000156588323MN35


                                       ASSIGNMENT OF MORTGAGE

 MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, fNC. AS NOMINEE FOR
 COUNTRYWIDE HOME LOANS, fNC. having an address at 1595 Spring
 Hill Road, Vienna, VA 22182, Assignor

 in consideration of ten and no/100 ($10.00)                       Dollars    and other
 good and valuable consideration paid by:

 FEDERAL NATIONAL MORTGAGE ASSOCIATION Assignee,        having an
 address of 7105 Corporate Drive, Plano, TX 75024, hereby assigns
 unto the assignee, a Consolidation, Extension and Modification
 Agreement ("Consolidation Agreement) dated 1/30/2007 by GRANVILLE
 BEALE given to MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC. AS
 NOMINEE FOR COUNTRYWIDE HOME LOANS, INC. to secure payment of t:'1e
 sum of $336,000.00 Dollars and interest. Said Consolidation
 Agreement was recorded in the office of the Register of t~e
'County of KINGS on the 5/10/2007 in CRFN: 2007000244920 a;id
 combined and consolidated the following 2 mortgages:

Mortgage        (i)    dated 12/27 /2004         executed by GRANVILLE        BEALE,     to

 FFFC F/N/O FIRST FRANKLIN FINANCIAL CORP.                       to secure the sum of

 261, 250. 00         and        recorded in the office of t:he Register of the

'County of KINGS             on the 2/25/2005 in CRFN: 2005000116052, having

been    assigned            by    assignment    recorded    in   the    off ice   of    the

Register of the County of KINGS being the same mortgage which

was assigned as follows:

       Assignor:            FFFC F/N/0 FIRST FRANKLIN FINANCIAL CORP.

       Assignee:             MORTGAGE      f.LECTRONIC   REGISTRATION    SYSTEMS,      INC.

       AS NOMINEE FOR COUNTRYWIDE HOME LOANS, INC.

       Dated:         February 5, 2007

       Recorded:            May 10, 2007

     'CRFN: 2007000244918

       Mortgage (ii) dated 1/30/2007 executed by GRANVILLE BEALE,

       to MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC. AS

       NOMINEE FOR COUNTRYWIDE HOME LOANS, INC.                    to secure the sum

       of 80,380.38              and     recorded in the office·of the Register

       of the County of KINGS                 on the 5/10/2007 in CRFN:

     '-2007000244919.

Covering premises 943 ROCKAWAY AVENUE, BROOKLYN,                        NY 11212:      SEE
EXHIBIT A, ATTACHED, FOR LEGAL DESCRIPTION
          Case 17-3413, Document 108, 04/13/2018, 2279106, Page29 of 64

 Together with the bond or obligation described in said mortgage,
 and the moneys due to grow due thereon with interest.

 TO   HAVE     AND      TO     HOLD,    the same unto the assignee, and to the
 successors,           legal        representatives and assigns of the assignee
 forever.

 This assignment is not subject to the requirements of Section
 275 of the Real Property Law because it is an assignment within
 the secondary.mortgage market.

 This Assignment is made to and accepted by the Assignee without
 warranty or representation on the part of the . assignor and
 without recourse to the assignor in any event whatsoever.

 IN WITNESS    WHEREOF,  the Assignor                          has   duly   executed   the
 Assignment on    August 11, 2010

                                                      MORTGAGE ELECTRONIC REGISTRATION
                                                      SYSTEMS, INC. AS NOMINEE FOR
                                                      COUNTRYWIDE HOME LOANS, INC.




 STATE OF      1'1.ew '-tor-I:.
                                            ) SS.:
 COUNTY OF        N~a.~                     )


 On the 11th day of August in the year 2010 before me, the
 undersigned, personally appeared SARA Z. BORISKIN, personally
 known to me or proved to me on the basis of satisfactory
 evidence to be the individual (s)       whose name (s)  is   (are)
 subscribed Lo the within instrument and acknowledged to me that
 he/she/they executed the same in his/her/their capacity(ies),
 and that by his/her/their signature(s) on the instrument, the
 individual (s),  or  the  person   upon   behalf of    which   the
 individual(s) acted, executed the instrument.

/YJM{c{fe/fa.-1 d - .                                           .
            JESSICA A. CHAPPELL
        Notary Public. State of New Yort
              No. 01CH4981747
          Quafifieo in Nassau Courrty / I
      Commission Expires May 20, 20-f-'
                                                     SEALI.
             Case 17-3413, Document 108, 04/13/2018, 2279106, Page30 of 64



                             ADVANTAGE FORECLOSURE SERVICES, INC.

                                    Title No. FCL-67278-10 (File No. NIA)

                                                 SCHEDULE A
                                                 DESCRIPTION

 Bloc~ 3626 and Lot 104


~L that certain plot, piece or parcel ofland, with the buildings and improvements thereon erected, situate, lying and
being in tb.e Borough ofBrooklyn, County ofKings, City and State ofNew York, bounded and described as follows:

BEG!NNING at a point on the Easterly side ofRockaway Avenu,e distant 77.25 feet Northerly from the comer fonned
by the intersection of the Easterly side of Rockaway Avenue and the Northerly side of Hegeman Avenue;

RUNNING THENCE Easterly at right angles to the Easterly side of Rockaway Avenue 100.09 feet;

THENCE Northerly parallel with the Easterly side of Rockaway Avenue 18 feet;

THENCE Westerly at right angles to the Easterly side of Rockaway Avenue 100.09 feet to the Easterly side of
~ockaway Avenue;


THENCE Southerly along the Easterly side of Rockaway Avenue 18 feet to the point or place of BEGINNING.

Premises known as 943 Rockaway Avenue, Brooklyn, New York
Case 17-3413, Document 108, 04/13/2018, 2279106, Page31 of 64




                   EXHIBIT D
                      Case 17-3413, Document 108, 04/13/2018, 2279106, Page32 of 64
Sara Boriskin I Linkedln                                                                                                                                       Page 1 of I


          Sara Boriskin
          Managing Partner at RAS Boriskin, LLC
          Greater New York City Area. Law Practice

           Join Llnkedln and access Sara Boriskin;s full profile. Ifs free!
          As a Linkedln member, you11 join 300 mHfion other professionals who are sharing connections, ideas, and opportunities.
           • See Who you ancrs.ni 8orlsidn know In common
           • Get Introduced to Sera Borllldn
           • Contact ..... Borlsldn directly




      Sara Boriskin's Overview
                 · Current    Managing Partnerat RAS Boriskln, LLC
                      Past    Managing Attorney - Foreclosure Departmentat Berkman, Henoch, Peterson, Peddy & Fenchel, P.C.
                              Associate Atlomeyat Berkman Henoch Peterson & Peddy, P.C.
               Education      Brooklyn Law School
            Connections       485 connections

      Sara Boriskin's Summary
       I am the Managing Partner at RAS Boriskin, LLC, a boutique creditors rights firm in New York focusing on foreclosure, bankruptcy, REO, eviction, litigation
       and loss mitigation. After 9+ years at Berkman, Henoch, Peterson, Peddy & Fenchel, P.C., I resigned my position as Managing Attorney to build a practice,
       something I've always aspired to do.


      Sara Boriskin's Experience
       Managing Partner
       RAS Boriskin, LLC
       March 2013- Present (1 year 3 months) Westbury, New York

       Managing Attorney - Foreclosure Department
       Berkman, Henoch, Peterson, Peddy & Fenchel, P.c.
       Partnership; li1-200 employees; Law Practice industry
       August 2010- February!2013 (2 years 7 months)

       Associate Attorney
       Berkman Henoch Peterson & Peddy, P.C.
       Partnership; 51-200 employees; Law Practice industry
       January 2004- July 2010 (6 years 7 months)


      Sara Boriskin's Skills & Expertise

         Litigation     Intellectual Property       Foreclosures       Loss Mitigation       Evictions       Bankruptcy        Creditors' Rights   REO


     Sara Boriskin's Education
      Brooklyn Law School
      2000-2003


     Contact Sara for:


     View· Sara Boriskin's full profile to...
       • See who you and Sara Boriskin know in common
       • Get introduced to Sara Borlskin
       • Contact Sara Boriskin directty



      Not the Sara Boriskin you were looking for?View more >




                                                Linkedln member directory - Browse members by country abc de fg hi jk Im no pq rs tu vw xy zmore
           Case 17-3413, Document 108, 04/13/2018, 2279106, Page33 of 64
•:::   I




                              EXHIBIT E
/

                      Case 17-3413, Document 108, 04/13/2018, 2279106, Page34 of 64




                                   _.                     NASSAU COUNTY CLERK'S OFFICE
                                                             ENDORSEMENT COVER PAGE
         Recorded Date: 01-25-2011                                         Record and Return To:
         Recorded Time: 12:02:54 p                                         BERKMAN HENOCH PETERSON PEDDY & FENCHEL
                                                                           100 GARDEN CITY PLAZA
                Liber Book: M 35625                                        GARDEN CITY, NY 11530
                Pages From:     959
                        To:     961
                           Control
                           Number:             1272
                            Ref #:
                    Doc Type: M23                       ASSIGN MORTGAGE
                  Refers to: Book: M 31400 Page: 936
         Location:                                                   section Block    Lot     Unit
         HEMPSTEAD ( 282 0)                                          0032    00623-00 00413




                                                                                Taxes Total             .oo
                                                                           Recording Totals          130.00
        AAROOl                                                                Total Payment          130.00
           THIS PAGE IS NOW PART OF THE INSTRUMENT AND SHOULD NOT BE REMOVED
                                                                     MAUREEN O'CONNELL
                                                                        COUNTY CLERK



    11111111111111111m1   ~11um111111~ 111111111111111111111111111111~1
                     ·2011012501272
Case 17-3413, Document 108, 04/13/2018, 2279106, Page35 of 64

   -   ,,
     Section: 32                                        BERKMAN, HENOCH, PETERSON,PEDDY4 l'ENCHEL,.P.C.
   • BJ:ock: 623                                        100 GARDEN C11Y PLAZA
     Lot: 413                                           GAIU>.EN ClTY, NY U531

                               ASSIGNMENT OF MORTGAGE

       MORTGAGE  ELECTRONIC REGISTRATION SYSTEMS, :INC. AS NOMINEE FOR
       COUNTRYWIDE BANK, NA having an address at 1595 Spring Hill Road,
       Vienna, VA 22182, Assignor

       in consideration of ten and no/100 ( $10. 00)                   Dollars and other
       good and valuable consideration paid by:

       BAC HOME LOANS SERVICING, LP F/K/A COUNTRYWIDE HOME LOANS
       SERVICING LP Assignee, having an address of 7105 Corporate
       Drive, Plano, TX 75024, hereby assigns unto the assignee, a
       certain mortgage made by MARVA CUDJOE          given to MORTGAGE
       ELECTRONIC REGISTRATION SYSTEMS, INC. AS NOMINEE FOR COUNTRYWIDE
       BANK, NA to secure payment ·of the sum of $348, 000. 00 Dollars and
       interest, dated 12/22/2006 and recorded on 01/08/2007, in the
       Office of the Clerk of the County of NASSAU in LIBER ~ PAGE
       lli_ covering premises 238-70 116TH ROAD, ELMONT, NY 11003: SEE
       EXHIBIT A, ATTACHED, FOR LEGAL DESCRIPTION

       Together with the bond or obligation described in said mortgage,
       and the moneys due to grow due thereon with interest.

       TO HAVE AND     TO HOLD, the same unto the assignee, and to the
       successors,    legal representatives and assigns of the assignee
       forever.

       This assignment is not subject to the requirements of Section
       275 of the Real Property Law because it is an assignment within
       the secondary mortgage market.

       This Assignment is made to and accepted by the Assignee without
       warranty or representation on the part of the assignor and
       without recourse to the assignor in any event whatsoever.

       IN WITNESS WHEREOF,     the j:),.ssignor           has       duly       executed   the
       Assignment on January 10, 2011.

                                         MORTGAGE ELECTRONIC REGISTRATION
                                         SYSTEMS, INC AS NOMINEE FOR
                                         COUNTRYWID           BANK, NA
                                                              /




       STATE OF NEW YORK        )
                                ) SS.!
       COUNTY OF NASSAU         )

       On the 10th day of January in the year 2011 before me, the
       undersigned, personally appeared Sara z. Boriskin , personally
       known to me or proved to me on the basis of satisfactory
       evidence to be the individual(s)        whose name(s}  is  (are)
       subscribed to the within instrument and acknowledged to me that
       he/she/they executed the same in his/her/their capacity(ies),
       and that by his/her/their signature (s) on. the instrument, the
       indi idual (s),      the  person   upon beha],.f of   which the
            idual(s)        executed the instrument.

               w
              PUBLIC                                  KIM WALKER
                                            Notary f'.'ublic. 3t<Jte of New York
                     LEGIBILITY POOR               No. 01WA6011718               ~
                  FOR MICROFILMING            9u.aiifiad ii:i Nassau County ·
                                         Comm1ss1on fap1res August 17,   20_1_
            Case 17-3413, Document 108, 04/13/2018, 2279106, Page36 of 64




   J,   •
            .   ·'

                             ADVANTAGE FORECLOSURE SERVICE~, INC.

                                    Title No. FCL~70198-10 (File No. N/A)

                                                 SCHEDULE A
                                                 DESCRIPTION -·.
                                                                  ~   ...

Section 32. Block 623 and Lot 413

ALL that certain plot, piece or parcel ofland, with the buildings and improvements thereon erected, situate, lying and
being in Elmont, Town ofHempstead, County ofNassauand StateofNew·York, known and designated as atid by a·
portionofLOts 45 and 46 in Block 623 on a certain map entitled, "Map ofParkwayTerrace, Section 6 and amending
part ofMap ofParkway Terrace (Case No. 3907) situate~ at Elmont, lying wholly within the Town ofHempstead, ·
Nassau County, N. Y., surveyed and drawn by William H. Parry~ Inc., Land Surveyors, May 1946", and filed in the
Office ofthe Clerk ofthe CountyofNassauonApril 3, 1947 as Map No. 4390, which said portions ofsaid lots when
taken together are more particularly bounded and described according to said Map as follows:

BEGINNING at a point on the Southerly side ofl 1(jib Road, distant 158.51 feet Westerly from the extreme Westerly
end of an arc connecting the Southerly side of 11 ()th Road wi~ the Westerly side of 240th Street;

RUNNING THENCE Southerly at right angles to 11()lh Road, 105.76 feet;

THENCE Westerly on a line at an.interior angle of86 degrees 48 minutes 03 seconds with the last mentioned course,
41.06 feet;

                                                       .
THENCE Northerly again at right angles to 116th Road, 103 .46 feet          u; the Southerly side of 11 cYh Road;
THENCE Easterly along the Southerly side of 119m Road, 41.00 feet to the point or place of BEGINNING.


Premises known as 238-70 116th Road, Elmont, New York
        Case 17-3413, Document 108, 04/13/2018, 2279106, Page37 of 64
•   J




                         EXHIBIT F
                             Case 17-3413, Document 108, 04/13/2018, 2279106, Page38 of 64
         STATE OF NEW YORK                                           COUNTY OF NASSAU                                       INDEX#: ---~6=3=0/~1~1_ _ __
         SUPREME COURT                                                                                                    Date Filed: _ _J~a=n=u=a~rv~1~4~.=20~1~1~-
         DISTRICT:
        AITORt-!EY(S): : BERKMAN. HENOCH, PETERSON, PEDDY & PH: 516-222--6200
           ADDRESS: 100 Garden City Plaza Garden City NY 11530 File No.: BHLS-98069



                                                                                                                                                 _. · Plaintiff(s)/Petitioner(s)
                                                                                     VS
                                                                     MARVA CUDJOE, ET AL.,
                                                                                                                  JAN 2 O2011                  Defendant(s)/Respondent(s)

        STATE OF NEW YORK. COUNTY OF NASSAU                                                                  NASSAU C~'DAVIT OF SERVICE
        Alexander Klestov, being duly sworn deposes and says that deponent is not a                  £~YJil"ta~-b-f,~~~§r ~f(;J:f& 18 years and
        resides in the State of NEW YORK.

       That on 1/17/2011 at2:42 PM, at 238-70116TH ROAD, ELMONT, NY 11003, deponent served the within SUMMONS AND VERIFIED
       COMPLAINT which contains the additional notice requirements in accordance with RPAPL §1320, along with a copy of the Homeowner's
       Foreclosure Notice as required by RPAPL §1303 notice was served on colored paper other than the. color of the SUMMONS AND
       VERIFIED COMPLAINT and the notice was in bold, fourteen-point type, with the title of the Notice in bold, twenty-point type, bearing
       index# 630/11, filed 1/14/2011 on ANTON LEWIS S/H/A JOHN DOE #1, Defendant therein named,

   #1 INDMDUAL By delivering a true copy of each to said recipient personally; deponent knew the person served to be ·the person described as said person
         LJ    therein.

#2CORPQEATION By delivering thereat a true copy of each to                                                     personally, deponent knew the person so served
       LJ     to bethe                                                                of the corporation, and authorized to accept service on behalf of the corporatio1
  #3SUITABLE
   AGE ~SON By delivering a true copy of each to                                MARVA CUDJOE                              a person of suitable age and discretion.
                      Said premises is recipient's: [   J actual place of business        [ Xl dwelling house (usual place of abode) within the state.

   #4AFFIXING         By affixing a true copy of each to the door of said premises, which is recipienfs: [    ] actual place of business   [     ] dwelling house
     TOtjOR           (place of abode) within the state.                                                                                                                ·

                      Deponent was unable, with due diligence to find recipient or a person of suitable age and discretion, having called thereat
                      on the                     day of                                                  at
                      on the                     day of                                                 at

                      oob                             -~                                                     at
                      oob                             -~                                                     at
                      Address confirmed by

  #SMAIL COPY         On            .Januarv 20 2011           , deponent completed service by depositing a true copy of each documentto the above address
           [XI        in a 1st Class postpaid properly addressed envelope marked "Personal and Confidential" in an official depository under the exclusive care
                      and custody of the United States Post Office in the State of New York.

#6 DESCRIPTION A description of the Defendant, or other person served, or spoken to on behalf of the Defendant is as follows:
          [XI            Sex: Female       Color of skin:  Black       Color of hair: Black/Grav     Age: 51 - 65 Yrs                      Height:         5' 4" - 5' 8"
   (use with #1, 2 or 3) Weight: 131 -160 Lbs .        Other Features:

   #7WIT.FEES                                the authorized witness fee and I or traveiing expenses were paid (tendered) to the recipient.
           D
#8 MILITARYSRVC Deponent asked person spoken to whetherthe recipient was presently in military service of the United States Government or of the State
           00        of New York and was informed that recipient was not. Recipient wore ordinary civilian clothes and no military uniform.

       #90THER       PREMISES HAS FEWER THAN FIVE DWELLING UNITS.
           00
       Tenanfs Notice On Thursday, January 20, 2011 deponent mailed by Certified Mail, Return Receipt requested and 1st Class Mail, a copy of the Tenanfs



                                                                                                      JtzJ w
       Foreclosure Notice OR its own page as required by RPAPL 1303 notice was served on colored paper other than the color of the summons and complaint,
       and the notice was in bold fourtee~:point type, with the title of the notice in bold twenty-point 1YPJi ·

   ,        Sworn      be   re~ on .              n           2011

                                                                                                      Alexander Klestov
                                                                                                      Server's lie # 1305484
                                                                                                      Invoice/Work Order# 0809038
         Case 17-3413, Document 108, 04/13/2018, 2279106, Page39 of 64

·•   '




                           EXHIBIT G
       Case 17-3413, Document 108, 04/13/2018, 2279106, Page40 of 64
             2017-CFPB-0005     Document 1    Filed 01/23/2017   Page 1 of 25




                          UNITED STATES OF AMERICA
                CONSUMER FINANCIAL PROTECTION BUREAU


ADMINISTRATIVE PROCEEDING
File No. 2017-CFPB-0005


                                                CONSENT ORDER
In the Matter of:


CitiMortgage, Inc.




      The Consumer Financial Protection Bureau (Bureau) has reviewed the mortgage

servicing practices of CitiMortgage, Inc. (Respondent, as defined below) and has

identified the following law violations: Respondent informed borrowers seeking loss

mitigation that they were required to submit a substantial number of documents in

order to complete their application, many of which were not applicable to borrowers'

specific financial circumstances and were not required to complete their loss mitigation

application, in violation of the Real Estate Settlement Procedures Act (RESPA), 12

U.S.C. § 2601 et seq., Section 1024-41Cb) of its implementing Regulation X, 12 C.F.R.

Part 1024, and Sections 1031(a) and 1036(a)(1) of the Consumer Financial Protection

Act of 2010 (CFPA), 12 U.S.C. §§ 5531(a), 5536(a)(1). In some cases, Respondent

requested that borrowers submit documents for their loss mitigation applications that

borrowers had previously submitted, also in violation of Regulation X and the CFPA.

Under Sections 1053 and 1055 of the CFPA, 12 U.S.C. §§ 5563, 5565, the Bureau issues

this Consent Order (Consent Order).
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                                               I
                                       Jurisdiction

       1.      The Bureau has jurisdiction over this matter under Sections 1053 and 1055

of the CFPA, 12 U.S.C. §§ 5563 and 5565, and RESPA, 12 U.S.C. § 2601 et seq., and its

implementing Regulation X, 12 C.F.R. Part 1024.

                                               II
                                        Stipulation

       2.      Respondent has executed a "Stipulation and Consent to the Issuance of a

Consent Order," dated January [ ], 2017 (Stipulation),. which is incorporated by

reference and is accepted by the Bureau. By this Stipulation, Respondent has consented

to the issuance of this Consent Order by the Bureau under Sections 1053 and 1055 of the

CFPA, 12 U.S.C. §§ 5563 and 5565, without admitting or denying any of the findings of

fact or conclusions of law, except that Respondent admits the facts necessary to establish

the Bureau's jurisdiction over Respondent and the subject matter of this action.

                                             III
                                       Definitions

      3.       The following definitions apply to this Consent Order:

            a. "Affected Consumers" includes borrowers who were sent a Notice of

               Incomplete Information (NOII) letter by Respondent between January 10,

               2014, and December 4, 2014, after providing little or no income or

               hardship information along with their initial loss mitigation application,

               with the exception of borrowers who:

               I. were current at the time they received CMI's non-compliant (b)(2)

                  notice, who never submitted a document in response to CMI's non-
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          compliant (b)(2) notice, and who have remained current on their

          mortgage up to the Effective Date of the Consent Order; AND/OR

     IL   were current at the time they received CMI's non-compliant (b)(2)

          notice, who never submitted a document in response to CMI's non-

          compliant (b)(2) notice, and who never subsequently submitted

          another loss mitigation application up to the Effective Date of the

          Consent Order; AND/OR

     iii. submitted a complete loss mitigation application after January 10,

          2014, for which a decision was provided after January 10, 2014, and

          who subsequently submitted another loss mitigation application, and

          was sent CMI's non-compliant (b)(2) notice.

  b. "Board" means Respondent's duly-elected and acting Board of Directors.

  c. "Effective Date" means the date on which the Consent Order is issued.

  d. "Loss mitigation application" means an oral or written request for a loss

     mitigation option that is accompanied by any information required by a

     servicer for evaluation for a loss mitigation option. 12 C.F.R. § 1024.31.

  e. "Loss mitigation option" means an alternative to foreclosure offered by the

     owner or assignee of a mortgage loan that is made available through the

     servicer to the borrower, including a short-sale or a deed-in-lieu of

     foreclosure. 12 C.F.R. § 1024.31; 12 C.F.R. Pt. 1024, Supp. I, comment 31

     (Loss mitigation option)-1.

  f. "NOII letter" means the Notice of Incomplete Information letter that

     Respondent sent pursuant to 12 C.F.R. § 1024Al(b)(2)(i)(B) to Affected

     Consumers.
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             g. "Regional Director" means the Regional Director for the Northeast Region

                  for the Office of Supervision for the Consumer Financial Protection

                  Bureau, or his/her delegate.

             h. "Related Consumer Action" means a private action by or on behalf of one

                  or more consumers or an enforcement action by another governmental

                  agency brought against Respondent based on substantially the same facts

                  as described in Section IV of this Consent Order.

             i.   "Relevant Period" includes the period from January 10, 2014, to December

                  4, 2014.

            J.    "Respondent" means CitiMortgage, Inc., and its successors and assigns.

                                                 IV
                             Bureau Findings and Conclusions

       The Bureau finds the following:

       4.         Respondent is incorporated in New York, headquartered in O'Fallon,

Missouri, and is a subsidiary of Citibank, N.A. Respondent is a "covered person," as that

term is defined by 12 U.S.C. § 5481(6). Respondent is also a "service provider," as that

term is defined by 12 U.S.C. § 5481(26), and a "servicer" under Regulation X, 12 C.F.R. §

1024.2(b).

       5.         During the Relevant Period, Respondent serviced residential mortgage

loans on behalf of Citibank, N.A., government-sponsored entities, and various investors,

including by handling loss mitigation activities and initiating foreclosure proceedings.
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             Findings and Conclusions as to Respondent's NOii Letter

       6.      When Respondent received an incomplete loss mitigation application 45

days or more before a scheduled foreclosure sale, Respondent's practice was to send

borrowers a notice advising them of the additional documents and information

necessary to complete their loss mitigation applications.

       7.      During the Relevant Period, Respondent sent approximately 41,000 NOH

letters to Affected Consumers.

       8.     The NOH letters Respondent sent to Affected Consumers requested all

documents that could potentially be relevant to loss mitigation applications generally.

       9.     For a portion of the Relevant Period, from January 10, 2014, through

August 19, 2014, the first page of Respondent's NOH letter sent to Affected Consumers

included the following directive in bold, capitalized text: "WE MUST HAVE THE

DOCUMENTS LISTED BELOW TO PROCESS YOUR LOSS MITIGATION

APPLICATION." The NOH letter Respondent sent to Affected Consumers then listed

dozens of documents and forms that may or may not have been applicable to a

borrower's loss mitigation application.

       10.    The NOH letters Respondent sent to Affected Consumers did not specify

which of the listed documents were actually necessary for a particular borrower to
       (



submit in order to complete his or her loss mitigation application. Respondent did not,

in fact, need the Affected Consumers to submit all of the documents listed in the NOH

letter in order to complete their loss mitigation application.

       11.    For example, the NOH letter Respondent sent to Affected Consumers

requested, among other things, the following documents: "Form 1065 (Partnership Tax

Return) with all schedules"; "Form 11208 CS-Corporation Tax Return) with all
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schedules"; "Social Security Award Letter"; "Trust Agreement"; "Broker's Statements at

Year-End"; "Teacher contract"; "Pension Statement"; and a "Most current year of Real

estate tax bill for Rental."

       12.     Near the end of the NOII letter Respondent sent to some Affected

Consumers, Respondent included the following statement in bolded text: "Remember,

you must provide the necessary documentation to complete your

application."

       13.    In some cases, the NOII letter Respondent sent to Affected Consumers

also requested documents that borrowers had already submitted.

       14.    In certain circumstances, Respondent's representatives communicated

with Affected Consumers via phone or email to inform them of the actual documents the

borrowers needed to submit to complete their loss mitigation applications. However,

Respondent also sent some of these same borrowers an additional letter requesting a

large numbers of documents inapplicable to their circumstances, or documents that the

borrowers had already submitted.

       15.    Some Affected Consumers also received conflicting messages from

Respondent's representatives regarding the documents that they needed to submit to

complete their loss mitigation applications, including that they had to submit

documents previously submitted. Affected Consumers also complained about the lack of

communication by Respondent's representatives, and the assignment of multiple

representatives during the loss mitigation application process.

                        Violation of RESPA and Regulation X

       16.    When a servicer receives an incomplete loss mitigation application 45 days

or more before a scheduled foreclosure sale, Section 1024-41Cb)(2)(i)(B) of Regulation X
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requires the servicer, within five days of receiving the application, to provide a written

notice "stat[ing] the additional documents and information the borrower must submit"

to complete his or her loss mitigation application. 12 C.F.R. § 102441(b)(2)(i)(B).

       17.    As described in Paragraphs 6-14, the NOil letter Respondent sent to

Affected Consumers did not state which documents and information those borrowers

actually needed to submit to complete their loss mitigation applications. In some cases,

the NOil letter Respondent sent to Affected Consumers requested documents that the

borrowers had previously submitted.

       18.    Therefore, Respondent violated RESPA, 12 U.S.C. § 2601 et seq., and

Section 102441(b)(2)(i)(B) of its implementing Regulation X.

                                Violation of the CFPA

       19.    Sections 1031(a) and 1036(a)(1)(B) of the CFPA, 12 U.S.C. §§ 5531(a) and

5536(a)(1)(B) prohibit "unfair, deceptive, or abusive" acts or practices. 12 U.S.C.

§ 5536(a)(1)(B).

       20.    As described in Paragraphs 6-14, in connection with servicing residential

mortgage loans, Respondent has represented, expressly or impliedly, that borrowers

must submit all the documents listed in the NOil letter in order to complete their loss

mitigation application and for Respondent to process that loss mitigation application.

       21.    In fact, Respondent actually needed a much smaller universe of

documents to process borrowers' loss mitigation applications and borrowers did not

have to submit all of the documents listed in the NOil letter to complete their loss

mitigation application. In some cases, Respondent also represented in its NOil letter

that borrowers needed to submit documents that they had already provided.
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       22.      Therefore, Respondent engaged in deceptive acts or practices in violation

of Sections 1031(a) and 1036(a)(1) of the CFPA, 12 U.S.C. §§ 5531(a), 5536(a)(1).

                                                 v
                                     Conduct Provisions


       IT IS ORDERED, under Sections 1053 and 1055 of the CFPA, that:

       23.      Respondent and its officers, agents, servants, employees, and attorneys

who have actual notice of this Consent Order, whether acting directly or indirectly, may

not violate Section 102441(b)(2)(i)(B) of Regulation X, 12 C.F.R. § 102441(b)(2)(i)(B),

and Sections 1031(a) and 1036(a)(1) of the CFPA, 12 U.S.C. §§ 5531(a), 5536(a)(1), as

follows and must take the following affirmative actions:

      a. When Respondent does not possess information or documentation from

             borrowers who have submitted a loss mitigation application sufficient to know

             what specific information or documentation is necessary to complete a loss

             mitigation application, Respondent must send notices of incomplete loss

             mitigation applications that comply with 12 C.F.R. § 102441(b)(2)(i)(B) by:

                1.   Explaining in plain language the purpose of any enclosed form that a

                     borrower must complete in connection with his or her application,

                     including a description of any documentation the form requires the

                     borrower to submit; and

               II.   Enclosing any form that a borrower must complete with his or her

                     application.

      b. When Respondent possesses more extensive information or documentation

         from borrowers who have submitted a loss mitigation application sufficient to
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   inform the borrower of what specific information or documentation is

   necessary to complete a loss mitigation application, Respondent must send

   notices of incomplete loss mitigation applications that comply with 12 C.F.R. §

   1024-41(b)(2)(i)(B) by:

       I.   Clearly identifying any required documents that have not been

            submitted by the borrower;

      11.   Explaining in plain language the purpose of any enclosed form that a

            borrower must complete in connection with his or her application,

            including a description of any documentation the form requires the

            borrower to submit;

     m. To the extent certain applicable income and financial documents are

            valid for a limited period of time, clearly identifying the length of time

            for which those specified documents are valid; and

      iv. Enclosing any form that a borrower must complete with his or her

            application.

c. Respondent, and its officers, agents, servants, employees, and attorneys who

   have actual notice of this Consent Order, whether acting directly or indirectly,

   in connection with servicing residential home mortgages, may not

   misrepresent, or assist others in misrepresenting:

       I.   The documents and information borrowers are actually required to

            submit to complete their loss mitigation application;

      11.   The documents and information Respondent must have to process a

            borrower's loss mitigation application; or
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               m. That borrowers must submit documents to complete their loss

                    mitigation application when the borrower has already submitted a

                    current version of those documents.

       24.      For Affected Consumers who did not receive a decision on their loss

mitigation application, Respondent must take the following affirmative actions:

       a. Place a hold on all foreclosure-related activity for the accounts of all Affected

             Consumers who are included in the outreach and review described in

             subsections (b) and (c) below;

       b. Make at least 4 attempts (using at least one attempt by first-class mail) to

             contact each Affected Consumer whose mortgage loan is still active, whose

             servicing rights are owned by Respondent, and who Respondent was servicing

             as of January 13, 2017, to determine his or her continued interest in loss

             mitigation options; and

      c. Review and evaluate loss mitigation applications submitted by Affected

             Consumers as a result of this outreach within 15 days of receipt of a complete

            loss mitigation application.

                                              VI

                                       Compliance Plan

      IT IS FURTHER ORDERED that:

      25.       Within 60 days of the Effective Date, Respondent must submit to the

Regional Director for review and determination of non-objection a comprehensive

compliance plan designed to ensure that Respondent's practice of notifying borrowers

who submit an incomplete loss mitigation application of the additional documents and
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information necessary to complete their application complies with all applicable Federal

consumer financial laws and the terms of this Consent Order (Compliance Plan). The

Compliance Plan must include, at a minimum:

             a. Detailed steps for addressing each action required by this Consent Order;

             b. Templates of all notices that Respondent currently sends to borrowers

                who have submitted an incomplete loss mitigation application;

             c. Templates of all new or revised notices Respondent seeks to send to

                borrowers to comply with the terms of this Consent Order; and

             d. Specific timeframes and deadlines for the implementation of the steps

                described above.

       26.      The Regional Director will have the discretion to make a determination of

non-objection to the Compliance Plan or direct Respondent to revise it. If the Regional

Director directs Respondent to revise the Compliance Plan, the Respondent must make

the revisions and resubmit the Compliance Plan to Regional Director within 30 days.

       27.      After receiving notification that the Regional Director has made a

determination of non-objection to the Compliance Plan, Respondent must implement

and adhere to the steps, recommendations, deadlines, and timeframes outlined in the

Compliance Plan.

       28.      If Respondent materially revises its notices to borrowers who submit an

incomplete loss mitigation application within 5 years of the Regional Director's

determination of non-objection to the Compliance Plan, Respondent must submit its

revised notices to the Regional Director for review and non-objection.
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                                              VII

                                     Role of the Board

       IT IS FURTHER ORDERED that:
       29.      The Board, or a relevant Committee thereof, must review all submissions

(including plans, reports, programs, policies, and procedures) required by this Consent

Order prior to submission to the Bureau.

      30.       Although this Consent Order requires the Respondent to submit certain

documents for the review or non-objection by the Regional Director, the Board will have

the ultimate responsibility for proper and sound management of Respondent and for

ensuring that Respondent complies with Federal consumer financial laws and this

Consent Order.

      31.       In each instance that this Consent Order requires the Board to ensure
                                                     I


adherence to, or perform certain obligations of Respondent, the Board, or a relevant

Committee thereof, must:

             a. Authorize whatever actions are necessary for Respondent to fully comply

                with the Consent Order;

            b. Require timely reporting by management to the Board on the status of

                compliance obligations; and

            c. Require timely and appropriate corrective action to remedy any material

                non-compliance with any failures to comply with Board directives related

                to this Section.
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                                              VIII

                                    Order to Pay Redress

       IT IS FURTHER ORDERED that:

       32.      Within 10 days of the Effective Date, Respondent must reserve or deposit

into a segregated deposit account $17 million for the purpose of providing redress to

Affected Consumers as required by this Section.

       33.      Within 90 days of the Effective Date, Respondent must submit to the

Regional Director for review and non-objection a comprehensive written plan for

providing redress consistent with this Consent Order (Redress Plan). The Regional

Director will have the discretion to make a determination of non-objection to the

Redress Plan or direct Respondent to revise it. If the Regional Director directs

Respondent to revise the Redress Plan, Respondent must make the revisions and

resubmit the Redress Plan to the Regional Director within 30 days. After receiving

notification that the Regional Director has made a determination of non-objection to the

Redress Plan, Respondent must implement and adhere to the steps, recommendations,

deadlines, and timeframes outlined in the Redress Plan.

      34.       The Redress Plan must apply to all Affected Consumers and:

             a. Specify how Respondent will identify all Affected Consumers;

            b. Provide processes for providing redress covering all Affected Consumers;

             c. Include a description of the following:

                    L    Methods used to compile a list of potential Affected Consumers;

                   11.   Methods used to calculate the amount of redress to be paid to each

                         Affected Consumer;
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                   m. Procedures for issuance and tracking of redress to Affected

                       Consumers; and

                   iv. Procedures for monitoring compliance with the Redress Plan.

       35.      The Redress Plan must, at a minimum, require Respondent to provide

$400 in redress to each Affected Consumer.

      36.       The Redress Plan must describe the process for providing redress for

Affected Consumers, and must include the following requirements:

      a. Respondent must mail a bank check to each Affected Consumer along with a

             Redress Notification Letter (as defined below);

      b. Respondent must send the bank check by United States Postal Service first-

             class mail, address correction service requested, to the Affected Consumer's

             last known address as maintained by the Respondent's records;

      c. Respondent must make reasonable attempts to obtain a current address for

             any Affected Consumer whose Redress Notification Letter and/or redress

        · check is returned for any reason, using the National Change of Address

             System, and must promptly re-mail all returned letters and/or redress checks

            to current addresses, if any; and

      d. Processes for handling any unclaimed funds.

      37.       With respect to redress paid to Affected Consumers, the Redress Plan

must include:

      a. The form of the letter ("Redress Notification Letter") to be sent notifying

            Affected Consumers of the redress; and

      b. The form of the envelope that will contain the Redress Notification Letter. The

            letter must include language explaining the manner in which the amount of
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             redress was calculated; and a statement that the provision of the refund

             payment is in accordance with the terms of this Consent Order.

       c. Respondent must not include in any envelope containing a "Redress

             Notification Letter" any materials other than the approved letters and redress

             checks, unless Respondent has obtained written confirmation from the

             Regional Director that the Bureau does not object to the inclusion of such

             additional materials.

       38.      Within 90 days from completion of the Redress Plan, Respondent must

submit a Redress Plan Report to the Regional Director, which must include

Respondent's Internal Audit department's review and assessment of Respondent's

compliance with the terms of the Redress Plan, including:

       a. The methodology used to determine the population of Affected Consumers;

       b. The Redress Amount for each Affected Consumer;

       c. The total number of Affected Consumers;

       d. The procedures used to issue and track redress payments;

       e. The amount, status, and planned disposition of all unclaimed redress

             payments; and

       f. The work of independent consultants that Respondent has used, if any, to

             assist and review its execution of the Redress Plan.

       39.      After completing the Redress Plan, if the amount of redress provided to

Affected Consumers is less than $17 million within 30 days of the completion of the

Redress Plan, Respondent must pay to the Bureau, by wire transfer to the Bureau or to

the Bureau's agent, and according to the Bureau's wiring instructions, the difference

between the amount of redress provided to Affected Consumers and $17 million.
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       40.    The Bureau may use these remaining funds to pay additional redress to

Affected Consumers. If the Bureau determines, in its sole discretion, that additional

redress is wholly or partially impracticable or otherwise inappropriate, or if funds

remain after the additional redress is completed, the Bureau will deposit any remaining

funds in the U.S. Treasury as disgorgement. Respondent will have no right to challenge

any actions that the Bureau or its representatives may take under this Section.

       41.    Respondent may not condition the payment of any redress to any Affected

Consumer under this Consent Order on that Affected Consumer waiving any right.

                                             IX

                         Order to Pay Civil Money Penalties

IT IS FURTHER ORDERED that:

       42.    Under Section 1055(c) of the CFPA, 12 U.S.C. § 5565(c), by reason of the

violations oflaw described in Section IV of this Consent Order, and taking into account

the factors in 12 U.S.C. § 5565(c)(3), Respondent must pay a civil money penalty of $3

million to the Bureau.

      43.    Within 10 days of the Effective Date, Respondent must pay the civil money

penalty by wire transfer to the Bureau or to the Bureau's agent in compliance with the

Bureau's wiring instructions.

      44.    The civil money penalty paid under this Consent Order will be deposited in

the Civil Penalty Fund of the Bureau as required by Section 1017(d) of the CFPA, 12

u.s.c. § 5497(d).
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       45.      Respondent must treat the civil money penalty paid under this Consent

Order as a penalty paid to the government for all purposes. Regardless of how the

Bureau ultimately uses those funds, Respondent may not:

             a. Claim, assert, or apply for a tax deduction, tax credit, or any other tax

                benefit for any civil money penalty paid under this Consent Order; or

             b. Seek or accept, directly or indirectly, reimbursement or indemnification

                from any source, including but not limited to payment made under any

                insurance policy, with regard to any civil money penalty paid under this

                Consent Order.

       46.      To preserve the deterrent effect of the civil money penalty.in any Related

Consumer Action, Respondent may not argue that Respondent is entitled to, nor may

Respondent benefit by, any offset or reduction of any compensatory monetary remedies

imposed in the Related Consumer Action because of the civil money penalty paid in this

action (Penalty Offset). If the court in any Related Consumer Action grants such a

Penalty Offset, Respondent must, within 30 days after entry of a final order granting the

Penalty Offset, notify the Bureau, and pay the amount of the Penalty Offset to the U.S.

Treasury. Such a payment will not be considered an additional civil money penalty and

will not change the amount of the civil money penalty imposed in this action.

                                                x
                            Additional Monetary Provisions


IT IS FURTHER ORDERED that:

      47.      In the event of any default on Respondent's obligations to make payment

under this Consent Order, interest, computed unc~er 28 U.S.C. § 1961, as amended, will
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accrue on any outstanding amounts not paid from the date of default to the date of

payment, and will immediately become due and payable.

       48.    Respondent must relinquish all dominion, control, and title to the funds

paid to the fullest extent permitted by law and no part of the funds may be returned to

Respondent.

       49.    Under 31 U.S.C. § 7701, Respondent, unless it already has done so, must

furnish to the Bureau its taxpayer identifying numbers, which may be used for purposes

of collecting and reporting on any delinquent amount arising out of this Consent Order.

       50.    Within 30 days of the entry of a final judgment, consent order, or

settlement in a Related Consumer Action, Respondent must notify the Regional Director

of the final judgment, consent order, or settlement in writing. That notification must

indicate the amount of redress, if any, that Respondent paid or is required to pay to

consumers and describe the consumers or classes of consumers to whom that redress

has been or will be paid.

                                            XI

                               Reporting Requirements


       IT IS FURTHER ORDERED that:

       51.    Respondent must notify the Bureau of any development that may affect

compliance obligations arising under this Consent Order, including but not limited to, a

dissolution, assignment, sale, merger, or other action that would result in the emergence

of a successor company; the creation or dissolution of a subsidiary, parent, or affiliate

that engages in any acts or practices subject to this Consent Order; the filing of any

bankruptcy or insolvency proceeding by or against Respondent; or a change in
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Respondent's name or address. Respondent must provide this notice, if practicable, at

least 30 days before the development, but in any case no later than 14 days after the

development.

       52.      Within 120 days of the Effective Date, and again one year after the

Effective Date, Respondent must submit to the Regional Director an accurate written

compliance progress report (Compliance Report) that has been approved by the Board

or a relevant committee thereof, which, at a minimum:

             a. Describes in detail the manner and form in which Respond~nt has

                complied with this Order; and

             b. Attaches a copy of each Order Acknowledgment obtained under Section

                XII, unless previously submitted to the Bureau.

                                            XII
                      Order Distribution and Acknowledgment

   IT IS FURTHER ORDERED that,

       53.      Within 30 days of the Effective Date, Respondent must deliver a copy of

this Consent Order to each of its board members and executive officers, as well as to any

managers, employees, service providers, or other agents and representatives who have

responsibilities related to the subject matter of the Consent Order.

       54.     For 5 years from the Effective Date, Respondent must deliver a copy of this

Consent Order to any business entity resulting from any change in structure referred to

in Section XI, any future board members and executive officers, as well as to any

managers, employees, service providers, or other agents and representatives who will

have responsibilities related to the subject matter of the Consent Order before they

assume their responsibilities.
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             55.      Respondent must secure a signed and dated statement acknowledging

      receipt of a copy of this Consent Order, ensuring that any electronic signatures comply

      with the requirements of the E-Sign Act, 15 U.S.C. § 7001 et seq., within 30 days of

      delivery, from all persons receiving a copy of this Consent Order under this Section.

                                                   XIII

                                            Recordkeeping

             IT IS FURTHER ORDERED that

             56.      Respondent must create, or if already created, must retain for at least 5

      years from the Effective Date, the following business records:

                   a. All documents and records necessary to demonstrate full compliance with

                      each provision of this Consent Order, including all submissions to the

                      Bureau.

                   b. All documents and records pertaining to the Redress Plan, described in

                      Section VIII above.

                   c. For each Affected Consumer: the consumer's name, address, phone

                      number, email address, and the date on which his or her loss mitigation

                      application was submitted.

            57.       Respondent must retain the documents identified in Paragraph 56 for the

      duration of the Consent Order.

            58.       Respondent must make the documents identified in Paragraph 56

      available to the Bureau upon the Bureau's request.
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                                             XIV

                                           Notices

       IT IS FURTHER ORDERED that:

       59.      Unless otherwise directed in writing by the Bureau, Respondent must

provide all submissions, requests, communications, or other documents relating to this

Consent Order in writing, with the subject line, "In re CitiMortgage Inc., File No. 2017-

CFPB-0 0 0 5," and send them either:

             a. By overnight courier (not the U.S. Postal Service), as follows:

                Regional Director, Northeast Region
                Consumer Financial Protection Bureau
                140 East 45th Street, 4th Floor
                New York, NY 10017


             b. By first-class mail to the below address and contemporaneously by email

                to Enforcement_Compliance@cfpb.gov:

                Regional Director, Northeast Region
                Consumer Financial Protection Bureau
                140 East 45th Street, 4th Floor
                New York, NY 10017

                                              xv
                                 Compliance Monitoring

      IT IS FURTHER ORDERED that, to monitor Respondent's compliance with

this Consent Order:

      60.       Within 30 days of receipt of a written request from the Bureau,

Respondent must submit additional Compliance Reports or other requested

information, which must be made under penalty of perjury; provide sworn testimony; or

produce documents.
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       61.    For purposes of this Section, the Bureau may communicate directly with

Respondent, unless Respondent retains counsel related to these communications.

       62.    Respondent must permit Bureau representatives to interview any

employee or other person affiliated with Respondent who has agreed to such an

interview. The person interviewed may have counsel present.

       63.    Nothing in this Consent Order will limit the Bureau's lawful use of civil

investigative demands under 12 C.F.R. § 1080.6 or other compulsory process.

                                           XVI

                  Modifications to Non-Material Requirements

IT IS FURTHER ORDERED that:

       64.    Respondent may seek a modification to non-material requirements of this

Consent Order (e.g., reasonable extensions of time and changes to reporting

requirements) by submitting a written request to the Regional Director.

      65.    The Regional Director may, in his/her discretion, modify any non-material

requirements of this Consent Order (e.g., reasonable extensions of time and changes to

reporting requirements) if he/she determines good cause justifies the modification. Any

such modification by the Regional Director must be in writing.

                                          XVII

                              Administrative Provisions

      66.    The provisions of this Consent Order do not bar, estop, or otherwise

prevent the Bureau, or any other governmental agency, from taking any other action

against Respondent, except as described in Paragraph 67.
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             67.    The Bureau releases and discharges Respondent from all potential liability

      for law violations that the Bureau has or might have asserted based on the practices

      described in Section IV of this Consent Order, to the extent such practices occurred

      before the Effective Date and the Bureau knows about them as of the Effective Date. The

      Bureau may use the practices described in this Consent Order in future enforcement

      actions against Respondent and its affiliates, including, without limitation, to establish a

      pattern or practice of violations or the continuation of a pattern or practice of violations

      or to calculate the amount of any penalty. This release does not preclude or affect any

      right of the Bureau to determine and ensure compliance with the Consent Order, or to

      seek penalties for any violations of the Consent Order.

             68.    This Consent Order is intended to be, and will be construed as, a final

      Consent Order issued under Section 1053 of the CFPA, 12 U.S.C. § 5563, and expressly

      does not form, and may not be construed to form, a: contract binding the Bureau or the

      United States.

             69.    This Consent Order will terminate 5 years from the Effective Date or 5

      years from the most recent date that the Bureau initiates an action alleging any violation

      of the Consent Order by Respondent. If such action is dismissed or the relevant

      adjudicative body rules that Respondent did not violate any provision of the Consent

      Order, and the dismissal or ruling is either not appealed or upheld on appeal, then the

      Consent Order will terminate as though the action had never been filed. The Consent

      Order will remain effective and enforceable until such time, except to the extent that any

      provisions of this Consent Order have been amended, suspended, waived, or terminated

      in writing by the Bureau or its designated agent.
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            70.    Calculation of time limitations will run from the Effective Date and be

     based on calendar days, unless otherwise noted.

            71.    Should Respondent seek to transfer or assign all or part of its operations

     that are subject to this Consent Order, Respondent must, as a condition of sale, obtain

     the written agreement of the transferee or assignee to comply with Paragraph 24 and

     Section VIII to the extent Respondent transfers or seeks to transfer its obligations under

     these provisions of this Consent Order.

           72.     The provisions of this Consent Order will be enforceable by the Bureau.

     For any violation of this Consent Order, the Bureau may impose the maximum amount

     of civil money penalties allowed under Section 1055(c) of the CFPA, 12 U.S.C. § 5565(c).

     In connection with any attempt by the Bureau to enforce this Consent Order in federal

     district court, the Bureau may serve Respondent wherever Respondent may be found

     and Respondent may not contest that court's personal jurisdiction over Respondent.

           73.     This Consent Order and the accompanying Stipulation contain the

     complete agreement between the parties. The parties have made no promises,

     representations, or warranties other than what is contained in this Consent Order and

     the accompanying Stipulation. This Consent Order and the accompanying Stipulation

     supersede any prior oral or written communications, discussions, or understandings.
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       74.     Nothing in this Consent Order or the accompanying Stipulation may be

construed as allowing the Respondent, its Board, officers, or employees to violate any

law, rule, or regulation.

IT IS SO ORDERED, this J.3 rlday of January, 2017.




                                        Director
                                        Consumer Financial Protection Bureau




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